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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 9:20-cv-81367-WPD


  HOWARD COHAN,

          Plaintiff,

  vs.

  TIN ROOF DELRAY BEACH, LLC.,

        Defendant.
  ____________________________________________/

   RENEWED JOINT MOTION FOR APPROVAL AND ENTRY OF CONSENT DECREE

          Plaintiff, HOWARD COAHN ("Plaintiff") and Defendant, TIN ROOF DELRAY BEACH,

  LLC. (“Defendant," and collectively, the "Parties"), by and through their respective undersigned

  counsel, hereby move for the Court's approval and entry of the attached Consent Decree. 1

          1.      Plaintiff filed the instant cause of action alleging that the property at issue owned

  and/or operated by Defendant violated Title III of the Americans with Disabilities Act, 42 U.S.C.

  § 12181 et seq. ("Title III").

          2.      The Matters raised by Plaintiff's Complaint have been resolved in accordance with

  the Consent Decree, attached hereto as Exhibit "A."

          3.      The Parties agree and submit that the attached Consent Decree is fundamentally

  fair, adequate, and reasonable to improve access for persons with disabilities at the subject property

  at issue, and otherwise meets the purposes of Title III of the ADA. The Parties further agree that,

  upon completion of the modifications specified in the Consent Decree, all currently readily


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            This Renewed Motion corrects the error made by the filer when uploading D.E. 16 and is filed
  pursuant to D.E. 17.
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  achievable alterations to the subject property have been made and that the subject property at the

  time of the execution of this Consent Decree are otherwise in compliance with the readily

  achievable requirements of the ADA, ADAAG, and FACBC.

            4.     In accordance therewith, the Parties respectfully request that the Court review,

  approve, and ratify the Consent Decree. Additionally, the Parties request the Court retain

  jurisdiction to enforce the Consent Decree. See Anago Franchising, Inc. v. Shaz, LLC., 677 F.3d

  1272, 1280 (11th Cir. 2012).

            WHEREFORE, the Parties respectfully request that the Court grant this Renewed Motion,

  enter an order (a) approving and entering the attached Consent Decree; and (b) retaining

  jurisdiction to enforce the Consent Decree and grant such other relief as this Court deems just and

  proper.

    By: /s/ Gregory S. Sconzo                             By: /s/ Lindsay M. Massillon
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on December 11, 2020, the foregoing document was electronically

  filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is

  being served this day on all counsel of record on the attached Service List in the manner specified,

  either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                                   s/ Lindsay M. Massillon
                                                   Lindsay M. Massillon




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